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                    Defendant’s Motion to Seal

                            Exhibit 1
                     Non-Confidential Descriptive Index
                    (Local Criminal Rule 49.01(B)(2)(a))
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                    BEAUFORT DIVISION

United States of America,                        Case No. 9:22-cr-00658-RMG

           v.

Russell Lucius Laffitte,

                      Defendant.


                              Non-Confidential Descriptive Index

       In accordance with Local Crim. R. 49.01(B)(2)(a) (D.S.C.) and the Standing Order

Regarding Sealing Documents in Criminal Matters, ECF No. 1, No. 3:14-mc-00333-TLW (Oct.

28, 2014), the following non-confidential descriptive index is filed contemporaneously with the

Motion to Seal filed by Defendant:

Exhibit Document                             Description

   A      Defendant’s Motion for a Hearing   Defendant’s Motion to Dismiss Counts One and
          and Dismissal of the Second        Four of the Second Superseding Indictment and,
          Superseding Indictment             alternatively, the Second Superseding Indictment
                                             in its entirety.

   B      Palmetto State Bank Bylaws         Copy of the Palmetto State Bank (hereinafter
                                             “PSB”) Bylaws; version as of June 22, 2021.
          (June 22, 2021)
          [Exhibit 1 to Motion]

   C      Walker Affidavit                   Affidavit of PSB Counsel Trenholm Walker,
                                             provided to the parties and the Court under seal.
          [Exhibit 2 to Motion]

   D      10.31.2021 Board Minutes           Copy of the October 31, 2021, PSB Board of
                                             Directors (“the Board”) meeting minutes.
          [Exhibit 3 to Motion]

   E      Scans of Checks                    Copies of checks related to the A.B. settlement,
                                             which were jointly negotiated between the law
          [Exhibit 4 to Motion]
                                             firm of Peters, Murdaugh, Parker, Eltzroth &
                                             Detrick, P.A. and PSB.
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F   Transcript – PSB November 3       Official transcript of the audio recording from
    2021 Board Meeting                PSB’s November 3, 2021 Board meeting.
    [Exhibit 5 to Motion]

G   Minutes 11.3.21 Meeting           Copy of the November 3, 2021 Board meeting
                                      minutes.
    [Exhibit 6 to Motion]

H   D.B. Disbursement Sheet           Copy of the disbursement sheet from the estate of
                                      D.B. settlement.
    [Exhibit 7 to Motion]

I   D.B. Probate Accounting           Copy of the accounting submitted by Mr. Laffitte
                                      to the Allendale County Probate Court in the
    [Exhibit 8 to Motion]
                                      matter of D.B.

J   7.20.2022 Grand Jury Transcript   Official transcript of testimony presented to the
                                      grand jury on July 20, 2022 (Under seal pursuant
    [Exhibit 9 to Motion]
                                      to Fed. R. Crim. P. 6(e)).

K   10.12.21 Executive Committee      Copy of the October 12, 2021 Executive
    Minutes                           Committee meeting minutes.
    [Exhibit 10 to Motion]

L   N.T. Petition to Appoint          Copy of the petition filed in Hampton County
    Conservator                       Probate Court to appoint Mr. Laffitte as
                                      conservator for N.T.
    [Exhibit 11 to Motion]

M   9.20.2022 Grand Jury Transcript   Official transcript of testimony presented to the
                                      grand jury on September 20, 2022 (Under seal
    [Exhibit 12 to Motion]
                                      pursuant to Fed. R. Crim. P. 6(e)).




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November 1, 2022




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